Case 2:15-cv-01874-JRG-RSP Document 7 Filed 04/22/16 Page 1 of 1 PageID #: 30




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

  ROTHSCHILD CONNECTED DEVICES §
  INNOVATIONS, LLC                    §
                                      §
         Plaintiff,                   §           Case No: 2:15-cv-01877-JRG-RSP
                                      §
  vs.                                 §           LEAD CASE
                                      §
  AMERICAN HONDA MOTOR CO.,           §
  INC. et al                          §
                                      §
         Defendant.                   §
  ___________________________________ §
  ROTHSCHILD CONNECTED DEVICES §
  INNOVATIONS, LLC                    §
                                      §
         Plaintiff,                   §           Case No: 2:15-cv-01874-JRG-RSP
.
                                      §
  vs.                                 §           CONSOLIDATED CASE
                                      §
  BMW OF NORTH AMERICA, LLC           §
                                      §
         Defendant.                   §
  ___________________________________ §

                                          ORDER

        On this day the Court considered Plaintiff’s Motion to Dismiss Defendant BMW of North
America, LLC. It is therefore ORDERED that all claims by and between parties are hereby
DISMISSED WITH PREJUDICE, with each party to bear its own costs, expenses and attorneys’
fees.   SIGNED this 3rd day of January, 2012.
        SIGNED this 22nd day of April, 2016.




                                                 ____________________________________
                                                 ROY S. PAYNE
                                                 UNITED STATES MAGISTRATE JUDGE
